Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 1 of 23

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO:
United States of America ex rel. Ven-A-Care of
the Florida Keys, Inc., et al. v. Boehringer

Ingelheim Corporation, et al., Civil Action No.
07-10248-PBS

)
)
)
)
)
)
)
)
)

MDL No. 1456

Master File No. 01-CV-12257-PBS
Subcategory No. 06-CV-11337-PBS

Judge Patti B. Saris

Magistrate Judge Marianne B. Bowler

MEMORANDUM IN SUPPORT OF THE ROXANE
DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE CERTAIN
EVIDENCE AND ARGUMENT RELATED TO PLAINTIFFS’ DAMAGES CLAIM

Dated: March 12, 2010

Helen E. Witt, P.C.

Anne M. Sidrys, P.C.

Eric T. Gortner

John W. Reale

KIRKLAND & ELLIS LLP
300 North LaSalle Street
Chicago, Illinois 60654
Telephone: (312) 862-2000
Facsimile: (312) 862-2200

Counsel for Defendants

Boehringer Ingelheim Corp.,

Boehringer Ingelheim Pharmaceuticals, Inc.,
Boehringer Ingelheim Roxane, Inc., and
Roxane Laboratories, Inc.
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 2 of 23

TABLE OF CONTENTS
INTRODUCTION uo. ccccccssesesscsesseccseeesescesesssesscsesceseseeecacaescasssessesesaesesenecsesesesaeseeasscasaneeees 1
BACKGROUND 00. ecccceccseesceceeerseesesecseesseacsaesaesssaessensssessescseesssesscsssaessesesecseneesecseseesaseesessreasees 2
LEGAL STANDARD... secesesscsessesesenseseeceacsneerscsssaeaaseueegensoesasosecseseaeseseesessseeecsesnceeseseeasanees 3
ARGUMENT... ccecesscssssesesecessessssssecseceesesseaenesesenensceesesacsesesaesesssaensessacsssecasacsesaesesesassecscatnsecssseses 5

I. THE DOJ’S COMBINED CONDUCT DAMAGES THEORY SHOULD
BE REJECTED BECAUSE IT IS INCONSISTENT WITH THE PLAIN
MEANING OF THE FALSE CLAIMS ACT. o..ececceccssesesseseesesseseseeseessseessneseeaes 5

If. IN ADDITION, THE DOJ’S COMBINED CONDUCT DAMAGES
THEORY IGNORES THE LAW OF CAUSATION AND THE RECORD
IN THIS CASE. ooo ccccecsesesesecsecseseevsreanssceneeseenessesaessessesseeseeseesecsecsacsecntenseseeees 6

A. For The Arrays After The Third Quarter Of 2001, The Combined
Conduct Theory Erroneously Seeks To Hold Roxane Responsible
For Damages That Were Not The Effect Of Its Statements. .....0..0.000.004. 8

B. Even In Pre-Fourth Quarter 2001 Arrays, The DOJ Improperly
Seeks To Hold Roxane Responsible For Alleged Damages
Resulting From The Impact Of Dey’s Conduct. ..........ccccescesseseceseesseeseees 13

CONCLUSION ...0oo cei cecccccscsssscseeseseseeecseseesesesecnesseseeseceseseeesseeeessesesaesesesaesesesaeaeeeseeseeesaeseeesansesses 17
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 3 of 23

TABLE OF AUTHORITIES
Cases

Allison Engine Co. v. United States ex rel. Sanders,
128 S. Ct. 2123 (2008) oo. eee eeeeseeseceesersresseseseneseeseesecseeseeseenesseesessesaeseeseeeneeeaessteeeeseeetes 5, 6, 16

Brown v. United States,
514 F. Supp. 2d 146 (D. Mass. 2007) ccc cccccssccsssessecscesssecsseessecesssessscssseessecesesesseesseeeseeseneeesses 4

Clement v. United States,
980 F.2d 48 (1st Cir. 1992) ce ceesccssecessecesscseesssecssessssceseeeseecessesseecsueessscecseeeseeeeesaees 7, 12, 13

Commonwealth v. Mylan Labs.,
608 F. Supp. 2d 127 (D. Mass. 2008) o0....cececeecesssessesseeseeseeeseesecssessecesecseecaueneeeseeseeesessneeeaees 6, 9

Inre Pharm. Indus. Average Wholesale Price Litig.,
491 F. Supp. 2d. 20 (D. Mass. 2007) oo... ceceesssscscsecsseesnesesseeneeseeseseeeeeessesecacesecsessesaesseseseeesnees 9

Peckham v. Cont’l Cas. Ins. Co.,
895 F.2d 830 (1st Cir, 1990) ooo ccsccsccsscesssceseecesecssscceecssesesesessecseesssseeseseseessessessuscerseeeasansss 8

Petrocelli v. Gallison,
679 F.2d 286 (1st Cir, 1982) cee ccccccccsscccssccccsssecessseesssecesseecesseecessscesseecesscecseeseceessessseceeseseusnees 4

Rex Trailer Co. v. United States,
350 U.S. 148 (1956) cee ccccccesesssessccesscesseecsssessecesseeeseceseeessecseesssseessecseessnsessesecsecsssessseseraseesessess 5

Rodriguez-Cirilo v. Garcia,
115 F.3d 50 (1st Cir, 1997) ooo ecccecsseeeceesceseeeseesseeseessecsesseesseeseesaeeseeesecasecusssesseecseesaeeeeenses 7

Russo vy. Baxter Healthcare Corp.,
140 F.3d 6 (ist Cir, 1998) oo ee eeescesecsecseesseeseeseeseeassressessessesseceesateseeseceeesseaseaeeasereaeens 15, 16

United States ex rel. Fago v. M & T Mortg. Corp.,
518 F. Supp. 2d 108 (D.D.C. 2007) oo. eececceseceeeeteececesecesececesaeesecsesesseseesseensesseeesesseeessenaee 15

United States ex rel. Franklin v. Parke-Davis,
2003 WL 22048255 (D. Mass. Aug. 22, 2003)... cceccessceessesssecssecsssensteesnessseesseeeseeensees 7,12, 14

United States ex rel. Hagood v. Sonoma County Water Agency,
929 F.2d 1416 (Oth Cir. 1991). eeescsecsesseeecsevecsecaecacsessecaseeeseeaeseeseeaeaeseeseeeeseeaeeeeeeeseeres 5

United States ex rel. Kinney v. Hennepin County Med. Ctr.,
2001 WL 964011 (D. Minn. Aug. 22, 2001) oo. ccesecssssseseesecesessesecssseecsecsscssesseseesseeaseasentens 15

il
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 4 of 23

United States ex rel. Poteet v. Lenke,

604 F. Supp. 2d 313 (D. Mass. 2009) ......ccccsessessssesesscsesseseseesesesccseseesesesesseseseesesseseecsssesecseesevacs 6
United States ex rel. Sikkenga v. Regence Bluecross Blueshield of Utah,

472 F.3d 702 (LOth Cir, 2006)... ccceccssessessecessesseseesescsecseesesscsecsscacseesessesesscsessesscseescenesesees 7,15
United States v. Bornstein,

423 U.S. 303 (1976) oo. ecesecscescecsesessesseeesceseeseesescenscssssseccssesseseseessesssaenscsesscaeeassacsessesecscsasanseces 14
United States v. Hall,

653 F.2d 1002 (Sth Cir, 1981)... eccccsccssesssscsscssessesceeeseeseesesesseesesscsecsesecaesecsessesessessesacaresssesens 4
United States v. Hibbs,

568 F.2d 347 (3rd Cir, 1977)... ceccsccsseeccssccseessessesseesesseesscssessessessesaecaecsecsessesessseseessseesucaseneens 7,9
United States v. Lachman,

387 F.3d 42 (1st Cit, 2004) ooo ceccscssesssessssseeseessesacsceesessessecsecsecsecssesscsecsssseseecsucsuesessacessassaeas 6
United States v. Lamberty,

778 F.2d 59 (1st Cir, 1985) o.eeeeeecesescessesceseeseerecessessesescessesseseseesecsesscsacsssecsesecsecscsesscsessassceasssesens 4
United States v. McLeod,

721 F.2d 282 (9th Cir. 1983)... ee ceeeececessessesseseeseseesessessesecsessesceseessesesecsesscseacsecsesscsesecsscaseesees 14
United States v. President & Fellows of Harvard College,

323 F. Supp. 2d 151 (D. Mass. 2004) oo... ce ecccesccssesseesseseesecseesscssesecseeescsecsecseesessecsecsesneeeens 9,15
United States v. Rivera,

55 F.3d 703 (1st Cir. 1995) ooo cecccccsccsessessceseseeseessesesessesscseecsecscsacsesssssesscscsssscsecsssscsesscacauenseas 16
United States v. TDC Mgmt. Corp.,

288 F.3d 42] (D.C. Cir. 2002) .o..eeceecccscescssessesseseesescessessecescessesceecsscsessesscaseessesecsusseesscsessneenssens 14
Vt. Agency of Natural Res. v. United States ex rel. Stevens,

S29 U.S. 765 (2000) oe eesececcseesessceseeseeseeeessesaesseseesscsessescesseseesesscaecsesecsesacseescsessenecseeessacsesacsasas 6
Williams v. Taylor,

529 U.S. 420 (2000) oo. eeeseecceeesecsesseesseneeaeeeesecsesceseesseseesescessssseecsessssecsecscsecseeecsscsesscsseresecaeeuens 5
Statutes
BL U.S.C. § 3729 ie cececscccceecsseeeeeceetesseneeseessssescessensessesessessssessesecaecseseesecaesassesesaessseussceesess 1,5, 14
31 US.C. § 373 1(d) eee cesessecsseseseesscsseseeeseeseeseaeecessessesesesseeseseesecsesesseseesecsesessevessavsesesecsaseces 5
Other Authorities
PROSSER & KEETON ON TORTS § 42 (5th ed. 1984) ...ccccccccccsssscsscsecsceecseescsscsesscsesscsesscsessessevavenes 8

111
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 5 of 23

RESTATEMENT (SECOND) OF TORTS § 432 (1965).....cccccsscsssssessessessesssssconessveesesesavsseeae 7, 12, 13, 14
RESTATEMENT (SECOND) OF TORTS §§ 441-442 (1965) ....cccccccccccscssssscsscsscsesessssesevssessseassesseeenees 16
Rules

Fed. R. Evid. 104 ooo. cc ccccscssccsscsseessescesscesecseeesesseeseesseseccsessecsecsscaeesscsucecssecascsessevesesasenseaseaesaseaeens 3,4
Fed. R. Evid. 40] oo. eeeeccscsccsessessessesceseesessesesecsecsecsesseseseceacsecsassesecsassssecsesacssesesevsesassaseneaeeaes 1,4,8
Fed. R. Evid. 402 oo. eeeeeeesesscsecsceeeseesesseseeseeseesesessessesesaesesaeescsecsacsesscacsecsasacsucesssessvessaaaseavs 1, 4,8
Fed. R. Evid. 403 oo. ececcssceccesseccesceeeseeseescessssesessessessesssseseesscsesaesesacsecsecsessesusecsersecasenees 1,2,4,8
L. Re 7.1 ()(Q) cesssessssesssecessessssvessucssvscsssessusessuessusessusessecesnvcessueersvsesuseessveesussssasessassesseessascssecsssuecesecen 2

iv
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 6 of 23

INTRODUCTION

Pursuant to Federal Rules of Evidence 401, 402 and 403, Boehringer Ingelheim Roxane,
Inc., f/k/a Roxane Laboratories, Inc. (“Roxane”), Boehringer Ingelheim Corporation, and
Boehringer Ingelheim Pharmaceuticals, Inc. (collectively, the “Roxane Defendants”) respectfully
move this Court to preclude Plaintiffs United States of America and Ven-A-Care of the Florida
Keys, Inc. from introducing any evidence at trial regarding their “combined conduct” theory of
damages under the False Claims Act, 31 U.S.C. § 3729 et seqg.. (See Dkt. No. 6585, DOJ Consol.
Mem., 16-17; Dkt. No. 6660, DOJ Consol. Reply, 6-8) The combined conduct theory—
advanced by the Department of Justice in pretrial proceedings, filings, and its expert’s reports—
seeks to hold Roxane liable for alleged Medicare damages based upon another manufacturer’s
independent conduct. Through its combined conduct theory, the DOJ improperly seeks to inflate
its Medicare damages for ipratropium bromide by more than 865 million dollars, which would
be subject to the automatic trebling provisions of the FCA.

The DOJ’s “combined conduct” theory is fundamentally at odds with the plain language
of the FCA, which limits damages to those arising out of the particular act of the defendant. It is
also contrary to the law of causation. Accordingly, any evidence or argument related to this
theory of FCA damages is irrelevant to the jury’s deliberations and properly excluded under

Federal Rules of Evidence 401 and 402.' Moreover, because the combined conduct theory

"To date, the DOJ has framed its combined conduct theory as related only to the issue of damages, perhaps seeking
to avoid its burden to show causation. (See Dkt. No. 6585, DOJ Consol. Mem., 16-17; Dkt. No. 6660, DOJ Consol.
Reply, 6-8) The Court should preclude, however, any evidence or argument concerning “combined conduct,”
whether pursued as a theory of liability or damages.

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 7 of 23

would confuse the issues, mislead the jury, waste time, and be more prejudicial than probative,
such evidence and argument should be precluded under Federal Rule of Evidence 403.”

BACKGROUND

At the outset, the DOJ makes no allegation of conspiracy, collusion, or concerted action
between Roxane and the Dey Defendants. (See Dkt. No. 5733, Rox. First Am. Compl. 4 2; Dkt.
No. 5902, Am. Dey Compl. § 2) The DOJ does not allege or provide any evidence that Roxane
participated in the Dey Defendants’ pricing, marketing, or sales decisions. Nor is there any
evidence that Roxane caused the alleged damages that purportedly flowed from the Dey
Defendants’ independent conduct. In fact, the record makes clear that Roxane and Dey were
fierce competitors in the marketplace, did not control or participate in the pricing decisions of
one another, and acted independently of each other and pursuant to their own business interests.
(See Dkt. No. 6296, DOJ Stmt. of Facts, 4 145) Moreover, the separately pled complaints in the
Dey and Roxane cases make clear that the DOJ predicated its FCA claims on independent and
unrelated transactions involving the pricing decisions of different companies according to their
own particularized business models. (See generally Dkt. No. 5733, Rox. First Am. Compl.; Dkt.
No. 5902, Am. Dey Compl.)

In its pretrial proceedings and filings, however, the DOJ has stated that it intends to
introduce evidence and argument at trial that, in the case of ipratropium bromide, “Dey and
Roxane each legally caused a single injury to the Medicare program based on the combined
conduct of their price reporting on Medicare’s allowable reimbursement amount.” (Dkt. No.

6585, DOJ Consol. Mem., 14 (emphasis added)) Indeed, two of the DOJ’s four damage models

? Pursuant to L. R. 7.1(a)(2), undersigned counsel conferred with opposing counsel. Opposing counsel objects to the
relief requested herein.

2

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 8 of 23

depend on the novel “joint” or “combined” conduct theory. (Dkt. No. 6207, Rox. Corrected
Stmt. of Facts, Tab 166, 2-4) As discussed below, the DOJ’s “combined conduct” theory and
resulting damage models seek to hold Roxane liable for damages that Roxane’s conduct,
standing alone, did not cause. (See Dkt. No. 6585, DOJ Consol. Mem., 16-17; 10/20/09 Hr’g Tr.
25 (attached hereto as Exhibit A)) First, the DOJ seeks to recover damages against Roxane for
reimbursement based on arrays in which Roxane’s AWPs, by themselves, had no impact on the
carriers’ calculation of the generic median. It is undisputed that for all arrays after the third
quarter of 2001, the generic median for ipratropium bromide would not have changed even if the
carriers had used Roxane’s fully discounted average selling prices, in place of its published
AWPs. (See Myers & Stauffer Arrays After From 2001Q4 To 2003Q4 (attached hereto as
Exhibit B); Ex. A, 10/20/09 Hr’g Tr. 25) Second, even for those arrays in which a change in
Roxane AWPs, by themselves, may be shown to have affected the calculation of the generic
median, the DOJ seeks to hold Roxane responsible for damages far exceeding its impact alone.
(See Myers & Stauffer Cigna DMERC Array 1998Q4 (attached hereto as Exhibit C); Dkt. No.
6585, DOJ Consol. Mem., 15-16)

Under its combined conduct model, the DOJ inflates its damages claim against Roxane
from just over $230 million to more than a billion dollars—amounting to more than
three billion dollars in damages under the automatic trebling provisions of the FCA. As
discussed below, the combined conduct theory is not a legally valid model of damages and
should not be permitted in this case.

LEGAL STANDARD

All evidence is subject to certain basic principles of admissibility under the Federal Rules

of Evidence. Rule 104 of the Federal Rules of Evidence provides that “[p]reliminary questions

3

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 9 of 23

concerning . . . the admissibility of evidence shall be determined by the court .. ..” Fed. R. Evid.
104; see also Petrocelli v. Gallison, 679 F.2d 286, 292 n.6 (1st Cir. 1982) (upholding lower
court’s exclusion of medical evidence under Rule 104(a), “which gives to the judge the
preliminary duty of determining whether—and under what theory—an item of evidence is to be
admitted”); Brown v. United States, 514 F. Supp. 2d 146, 155 n.14 (D. Mass. 2007) (excluding
under Rules 702 and 104(a) expert opinions “that have no foundation or rest on obviously
incorrect assumptions or speculative evidence”). Relevancy is a cornerstone of admissibility.
Fed. R. Evid. 402 (“Evidence which is not relevant is not admissible.”) Evidence is not relevant,
and should be excluded, where it does not bear upon an issue of consequence, as determined by
the substantive law. United States v. Lamberty, 778 F.2d 59, 61 (1st Cir. 1985) (excluding
evidence under Rule 402 that was not “relevant to proving the elements of the counts charged”);
see also United States v. Hall, 653 F.2d 1002, 1005-6 (Sth Cir. 1981) (excluding evidence that
was not probative of a proposition “that is of consequence to the determination of the action”)
(citation omitted). In other words, irrelevant evidence does not “hav[e] any tendency to make
the existence of any fact that is of consequence to the determination of th[is] action more
probable or less probable than it would be without the evidence.” Fed. R. Evid. 401. Even if
evidence is relevant, however, it should be excluded if its probative value is substantially
outweighed by danger of unfair prejudice, confusion of the issues, misleading the jury, or by

considerations of undue delay, or waste of time, as provided in Federal Rule of Evidence 403.

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 10 of 23

ARGUMENT
I. THE DOJS COMBINED CONDUCT DAMAGES THEORY SHOULD BE

REJECTED BECAUSE IT IS INCONSISTENT WITH THE PLAIN MEANING

OF THE FALSE CLAIMS ACT.

The combined conduct theory seeks to hold Roxane liable for damages attributable to the
conduct of the Dey Defendants. (See Dkt. No. 6585, DOJ Consol. Mem., 16) It should be
rejected outright because it is contrary to the plain meaning of the FCA’s damages provision.
See Allison Engine Co. v. United States ex rel. Sanders, 128 8. Ct. 2123, 2128 (2008) (“‘[W]e
start, as always, with the language of the statute.’” (quoting Williams v. Taylor, 529 U.S. 420,
431 (2000))).

While the government need not prove damages in a FCA case, Rex Trailer Co. v. United
States, 350 U.S. 148, 153, n.5 (1956); United States ex rel. Hagood v. Sonoma County Water
Agency, 929 F.2d 1416, 1421 (9th Cir. 1991), when actual damages are sought, the statute
requires the government to prove such damages by a “preponderance of evidence.” 31 U.S.C.
§ 3731(d). And, critically, with respect to damages, the plain language of the FCA expressly
limits recovery to the loss actually sustained “because of the act” of that particular defendant.
Specifically, the FCA provides:

(a) Any person who (1) knowingly presents, or causes to be presented, to an

officer or employee of the United States Government or a member of the Armed

Forces of the United States a false or fraudulent claim for payment or approval;

(2) knowingly makes, uses, or causes to be made or used, a false record or

statement to get a false or fraudulent claim paid or approved by the

Government; ... is liable to the United States Government for a civil penalty of

not less than $5,000 and not more than $10,000, plus 3 times the amount of
damages which the Government sustains because of the act of that person... .

31 U.S.C. § 3729 (emphasis added). Thus, damages are limited to those caused by the specific “act

of” the defendant. Jd.

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 11 of 23

The combined conduct theory rewrites this limiting clause, dramatically altering the
statute’s plain meaning in the process, by seeking to hold Roxane liable for treble damages
allegedly caused by the independent act of another person. The theory is thus fundamentally at
odds with the plain meaning of the restrictive, “because of the act” language. It is also
impermissible under the Supreme Court’s requirement that the FCA be interpreted by its plain
meaning. Allison Engine Co., 128 S. Ct. at 2125 (reversing Court of Appeals because its
interpretation of the FCA “impermissibly deviate[d] from the statute’s language”).

As this Court has also observed, “[t]he Supreme Court has repeatedly emphasized the
importance of the plain meaning rule, stating that if the language of a statute . . . has a plain and
ordinary meaning, courts need look no further and should apply [the statute] as it is written.”
Commonwealth v. Mylan Labs., 608 F. Supp. 2d 127, 141 (D. Mass. 2008) (quoting United
States v. Lachman, 387 F.3d 42, 50 (1st Cir. 2004)); ef United States ex rel. Poteet v. Lenke, 604
F. Supp. 2d 313, 322 n.20 (D. Mass. 2009) (giving plain meaning to first-to-file rule under FCA).
The “plain meaning” principle is especially true here, as Plaintiffs seek more than a billion
dollars of damages under their erroneous and unprincipled interpretation of a quasi-criminal,
punitive statute that provides for automatic trebling. See Vt. Agency of Natural Res. v. United States
ex rel. Stevens, 529 U.S. 765, 784-86 (2000). Accordingly, the Court should enforce the FCA as
written by Congress—not as the DOJ seeks to rewrite it—and reject the combined conduct
theory.

I. IN ADDITION, THE DOJ’S COMBINED CONDUCT DAMAGES THEORY
IGNORES THE LAW OF CAUSATION AND THE RECORD IN THIS CASE.

While the Court need not look any further than the language of the FCA to reject
Plaintiffs’ argument, common law principles of causation provide no refuge for the theory either.

The “because of the act” language of the FCA makes clear that to recover damages the
6

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 12 of 23

government must satisfy the element of causation. See, e.g., United States ex rel. Sikkenga v.
Regence Bluecross Blueshield of Utah, 472 F.3d 702, 714-15 & n.17 (10th Cir. 2006); United
States ex rel. Franklin v. Parke-Davis, 2003 WL 22048255, at **4-6 (D. Mass. Aug. 22, 2003).
And, in advancing its combined conduct theory, the DOJ has repeatedly argued that causation
under the FCA “generally involves application of common-law tort principles.” (Dkt. No. 6585,
DOJ Consol. Mem., 16; Dkt. No. 6660, DOJ Consol. Reply Mem., 6); see also United States v.
Hibbs, 568 F.2d 347, 349 (3rd Cir. 1977) (holding “traditional principles of tort law” apply to
causation for damages under the FCA); Parke-Davis, 2003 WL 22048255, at **4-6. To
establish damages under the common law, however, the defendant’s challenged conduct must be
the cause-in-fact of the plaintiffs injury, and it must also be appropriate to hold the defendant
legally responsible for that injury. See, e.g., Rodriguez-Cirilo v. Garcia, 115 F.3d 50, 52-53 (1st
Cir. 1997) (concluding the plaintiff's evidence did not establish the “basic notions of tort
causation” where it suffered from proximate causation problems and fell short with regard to
demonstrating the “but for” aspect of causation) (citing RESTATEMENT (SECOND) OF TorTs § 432
(1965)); Clement v. United States, 980 F.2d 48, 54 (1st Cir. 1992) (“Causation-in-fact is, by
definition, a factual inquiry which requires a court to determine if an injury would not have
occurred but for a defendant’s negligence, or, in the situation where there are two or more
causes, each of which by itself is sufficient to bring about an injury, whether the defendant’s
conduct was a substantial factor in bringing about the injury.”) (citing RESTATEMENT (SECOND)

OF TORTS § 432) (emphasis added) ; Parke-Davis, 2003 WL 22048255, at *4 (“Causation in tort

> Section 432(2) provides “if two forces are actively operating, one because of the actor’s [tortious conduct], the
other not because of any misconduct on his part, and each of itself is sufficient to bring about harm to another, the
actor's [tortious conduct] may be found to be a substantial factor in bringing it about.” RESTATEMENT (SECOND) OF
TORTS § 432 (emphasis added).

7

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 13 of 23

law is generally divided into two concepts: causation in fact, or actual causation, and proximate
or legal causation.”) (Saris, J.); see also PROSSER & KEETON ON TorRTS § 42, at 272-73 (Sth ed.
1984) (“Once it is established that the defendant’s conduct has in fact been one of the causes of
the plaintiffs injury, there remains the question whether the defendant should be legally
responsible for the injury.”) (internal footnote omitted).

Yet the DOJ’s combined conduct theory ignores that under the common law “causation is
binary, comprising causation in fact and proximate (or legal) causation.”* See Peckham v. Cont’l
Cas. Ins. Co., 895 F.2d 830, 837 (1st Cir. 1990). (See Dkt. No. 6585, DOJ Consol. Mem., 16
(analyzing legal causation); Dkt. No. 6660, DOJ Consol. Reply Mem., 6-7 (same); Ex. A,
10/20/2009 Hr’g Tr. 26-27) The theory fails to satisfy either prong of causation. First, the
combined conduct theory fails to make any inquiry into or otherwise account for factual
causation. Second, the DOJ erroneously seeks to hold Roxane legally responsible for damages
arising from another independent actor’s alleged fraudulent conduct, failing to satisfy the legal
causation standard. The DOJ’s combined conduct theory should be precluded—it is legally
wrong under the common law, irrelevant, factually unsupported, and highly prejudicial. See Fed.
R. Evid. 401-403.

A. For The Arrays After The Third Quarter Of 2001, The Combined Conduct

Theory Erroneously Seeks To Hold Roxane Responsible For Damages That
Were Not The Effect Of Its Statements.

By design, the DOJ’s combined conduct theory—which aggregates the joint impact of
independent actors’ separate actions—fails to analyze independently “the relationship between

the [defendant’s alleged] unlawful act and the injury ultimately sustained.” Hibbs, 568 F.2d at

* The Roxane Defendants will be entitled to jury instructions on both the legal and factual causation prongs of
causation for liability and damages.

8

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 14 of 23

351. It ignores that the issue of causation must be evaluated against a defendant’s individual
conduct. Mylan Labs., 608 F. Supp. 2d. at 144; In re Pharm. Indus. Average Wholesale Price
Litig., 491 F. Supp. 2d. 20, 49 (D. Mass. 2007); United States v. President & Fellows of Harvard
College, 323 F. Supp. 2d 151, 186 (D. Mass. 2004). But to establish causation, the DOJ must
show that “but for” Roxane’s conduct, the government would not have suffered its claimed loss.
The DOJ cannot meet this burden or show that it would not have suffered damages “but
for” Roxane’s conduct for any array after the third quarter of 2001.° Indeed, for these arrays
Roxane’s AWPs, by themselves, have no impact on the generic median calculated by the
carriers. (Ex. B) In other words, for every quarter after the third quarter of 2001, the generic
median would have been the same even if Roxane had supplied the AWPs created by the DOJ
expert. (Ud; Ex. A, 10/20/09 Hr’g Tr. 25) Thus, there is no loss causation for any damages

attributable to these quarters.

° For one of the four Durable Medical Equipment Regional Carriers (“DMERCs”), AdminaStar Federal, Plaintiffs
cannot meet this burden even earlier, beginning with the third quarter of 2000. (See Dkt. No. 6291, Rox. Defs.’
Mem. In Supp. of Partial Summ. J., 23-24)

9

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 15 of 23

For example, in the fourth quarter of 2001, DMERC B (AdminaStar Federal) calculated a

$3.52 median for ipratropium bromide (J-Code 7644) based on the following array:

Phys Total Care 2.5m 60s 54868-4082-00 53.95 1.80 1.80
Phys Total Care 2.5ml 25s 54868-4082-01 2631 2.10 2.10
Roxane 2.5ml 25s 00054-8402-11 44.06 3.52 3.52
Roxane 2.5ml 30s 00054-8402-13 52.80 3.52 3.52
Roxane 2.5ml 60s 00054-8402-21 105.74 3.52 3.52
Dey 2.5ml 30s 49502-0685-33 52.80 3.52 3.52
Dey 2.5ml 60s 49502-0685-60 105.60 3.52 C 3.52)
Dey 2.5ml 25s 49502-0685-03 44.10 3.53
Zenith Goldline 2.5ml 25s 00172-6407-44 44,10 3.53
Zenith Goldline 2.5ml 60s 00172-6407-49 118.75 3.96
Alpharma USPD 2.5ml 60s 00472-0751-60 118.80 3.96
Alpharma USPD 2.5ml 25s 00472-075 1-23 4.52
Alpharma USPD 2.5ml 30s 00472-0751-30 4.52
$3.52

(Ex. B at 22)
As shown below, if Roxane’s AWPs in the carrier array were replaced with the figures

calculated by the DOJ expert, the generic median would remain at $3.52:

2.5ml 60s_ 0054-8402-21-
: : 1 054-8402-13, & BPS SS
Phys Total Care 2.5ml 60s 54868-4082-00 53.95 1.80 1.80
Phys Total Care 2.5ml 25s 54868-4082-01 26.31 2.10 2.10
Dey 2.5ml 30s 49502-0685-33 52.80 3.52 3.52
Dey 2.5ml 60s 49502-0685-60 105.60 3.52 C 3.52)
Dey 2.5ml 25s 49502-0685-03 44.10 3.53 3.53
Zenith Goldline 2.5ml 25s 00172-6407-44 44.10 3.53 3.53
Zenith Goldline 2.5ml 60s 00172-6407-49 118.75 3.96 3.96
Alpharma USPD 2.5ml 60s 00472-0751-60 118.80 3.96 3.96
Alpharma USPD 2.5ml 25s 00472-0751-23 56.50 4.52 4.52
Alpharma USPD 2.5ml 30s 00472-0751-30 4.52
$ 3.52

10

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 16 of 23

(Ud. at 23) Thus, Roxane’s AWPs, standing alone, cause no change in the median price. The
DOJ concedes this point: “after the third quarter of 2001, . . . [the DOJ] can change the AWPs of
Roxane down to 1 cent[], and it still doesn’t change the outcome, the median calculation.”
(Ex. A, 10/20/2009 Hr’g Tr. 25 (counsel for DOJ admitting that after the third quarter of 2001
“Roxane’s products in isolation “do not affect the median”))

To suggest “proof” of causation in those time-periods where none otherwise exists for
Roxane, the DOJ invokes its combined conduct theory. This legally bankrupt theory replaces
both Roxane’s and Dey’s AWPs in the carrier array with the DOJ-created AWPs, purportedly

based on the “average selling prices” of their respective products, for each company. Thus,

under the combined conduct theory, the same array listed above becomes the following:

Dé “49502-0685-03.

2.5m 60s

Phys Total Care 54868-4082-00
Phys Total Care 2.5ml 25s 54868-4082-01 26.31 2.10 2.10
Zenith Goldline 2.5ml 25s 00172-6407-44 44.10 3.53 3.53
Zenith Goldline 2.5ml 60s 00172-6407-49 118.75 3.96 3.96
Alpharma USPD 2.5ml 60s 00472-0751-60 118.80 3.96 3.96
Alpharma USPD 2.5ml 25s 00472-0751-23 56.50 4.52 4.52
Alpharma USPD 2.5ml 30s 00472-075 1-30 67.80 4.52 4.52
i i $1.80

(Id. at 23) This same pattern holds true for every array for all four DMERCs after the third
quarter of 2001. (Ex. B)

The DOJ tries to sidestep the fact that it is unable to prove causation-in-fact by
referencing the “substantial factor” test of causation, arguing that a defendant’s conduct need
only be an undefined “substantial factor” in bringing about a particular harm. (See Dkt. No.

11

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 17 of 23

6660, DOJ Reply Consol., 6-7) As noted above, the First Circuit has relied upon the
Restatement (Second) of Torts when construing common law principles of causation and this
Court has looked to the Restatement when construing principles of causation under the FCA.
Parke-Davis, 2003 WL 22048255, at *4. And the Restatement makes clear that the causation
inquiry does not dispense with the “but for” requirement in multiple cause scenarios. See supra
n.3 (quoting RESTATEMENT (SECOND) OF TorTS § 432). As the Restatement notes, where courts
have applied the “substantial factor” test in the context of factual causation, they have done so in
the rare situation where each of multiple independent causes was sufficient to cause an injury.
See RESTATEMENT (SECOND) OF ToRTS § 432(2). In other words, proof of damages again
requires the damages to be caused by the specific act of the defendant.

The DOJ’s own authority makes this clear. In its consolidation filings, the DOJ
principally relies on Clement v. United States, 980 F.2d 48 (1st Cir. 1992) to support its novel
theory of damages. (Dkt. No. 6660, DOJ Consol. Reply Mem., 6-7) However, Clement
illustrates precisely why the DOJ’s theory and arguments fail. In Clement, the decendent’s sister
brought an action against the United States under the Federal Tort Claims Act, alleging that her
brother’s suicide was caused by the negligent conduct of the Veteran’s Administration Hospital.
Under these circumstances, the district court correctly analyzed the issue of causation under
Maine law, (which followed traditional causation principles of the common law), stating that a
defendant’s negligent conduct is actionable only if the negligence in fact caused the injury and
the injury was reasonably foreseeable. Jd. The First Circuit, in affirming the lower’s court’s
decision, found that “[c]ausation-in-fact is . . . a factual inquiry which requires a court to
determine if an injury would not have occurred but for a defendant’s negligence, or, in the

situation where there are two or more causes, each of which by itself is sufficient to bring about

12

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 18 of 23

an injury, whether the defendant’s conduct was a substantial factor in bringing about the injury.”
Clement, 980 F.2d at 54 (quoting RESTATEMENT (SECOND) OF ToRTS § 432) (emphasis added).
Although the hospital was found to have breached its standard of care, the court concluded that
the hospital’s negligence did not in fact cause the decedent’s suicide—in other words, it was not
a “but for” cause. Similarly, here, the DOJ admits that it cannot establish that Roxane’s conduct
“by itself [was] sufficient to bring about [the government’s alleged loss].” See id. (See also
Ex. A, 10/20/2009 Hr’g Tr. 25)

While there can be multiple “but for” causes of a particular injury, unless a particular
cause is a “but for” cause, it cannot be a factual cause of the injury. In short, the substantial
factor test does not supplant the “but for” test in the ordinary situation where multiple causes
combine to bring about a particular injury, but any one defendant’s conduct alone would have
been insufficient. See RESTATEMENT (SECOND) OF TorTS § 432(2). Thus, the DOJ cannot
recover damages without any evidence that the government would not have been damaged in the
specific amount claimed “but for” Roxane’s challenged conduct. The DOJ cannot make this
showing and the combined conduct theory cannot circumvent this black letter law. Accordingly,

Roxane cannot be held liable for any Medicare damages after the third quarter 2001.

B. Even In Pre-Fourth Quarter 2001 Arrays, The DOJ Improperly Seeks To
Hold Roxane Responsible For Alleged Damages Resulting From The Impact
Of Dey’s Conduct.

In addition, the DOJ seeks to hold Roxane responsible for damages attributed to Dey’s
independent actions. For example, in the fourth quarter of 1998, one of the DMERCs used an
array of six ipratropium bromide AWPs, three of which belonged to Roxane. (Ex. C) The DOJ

admits that if it replaced only Roxane’s AWPs with the re-calculated AWPs, the median amount

13

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 19 of 23

would change to $2.44. Ud.) However, to inflate its damages claim, one of the DOJ’s damage
models substitutes both Roxane’s and Dey’s published AWPs with the DOJ’s re-imagined
AWPs, reducing the median to $1.63. Ud.) The DOJ seeks recovery for other pre-2001 quarters
under a similar application of its combined conduct theory, inflating its damages by over a half
of a billion dollars.

The DOJ’s attempt to hold Roxane liable for damages resulting from Dey’s conduct finds
no support in the language of the FCA or common law principles regarding causation. See 31
U.S.C. § 3729 (a) (limiting damages to the three times amount of loss “which the Government
sustains because of the act of that person . . .”); RESTATEMENT (SECOND) OF TORTS § 432;
Parke-Davis, 2003 WL 22048255, at *4 (plaintiff must prove that the injury was sufficiently
linked to the defendant’s conduct to warrant attaching responsibility for the injury to the
conduct). For these arrays, the DOJ must show that all of the damages it seeks were factually
and legally caused by Roxane’s conduct. It can do neither.

First, Roxane’s conduct cannot be the “but for” cause of any damages resulting from the
alleged conduct of another manufacturer. See United States v. TDC Mgmt. Corp., 288 F.3d 421,
428 (D.C. Cir. 2002) (affirming the district court’s decision in FCA case to adopt a “but for”
measure of damages tied to the defendant’s specific omissions); United States v. McLeod, 721
F.2d 282, 285 (9th Cir. 1983) (holding “but for” the defendant’s conduct, the government would
not have suffered its claimed losses); cf United States v. Bornstein, 423 U.S. 303, 313 (1976)
(holding a correct application of the FCA’s penalty provision focuses in each case upon the
specific conduct of the defendant). The DOJ admits that Roxane alone did not cause all of the

alleged damages it seeks. (Ex. A, 10/20/09 Hr’g Tr. 25; Dkt. No. 6660, DOJ Consol. Reply

14

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 20 of 23

Mem., 6-7) Thus, the DOJ cannot establish factual causation for any damages associated with
the conduct of another manufacturer.

Second, because the FCA is a quasi-criminal, punitive statute, courts typically apply a
proximate causation standard to “narrow, rather than enlarge, the field of actions for which FCA
liability may be imposed.” Sikkenga, 472 F.3d at 715n.17. In fact, this Court too limits
causation under the FCA, requiring that a defendant must actively participate in the process of
submitting the allegedly false claims at issue in order to be held liable. See President & Fellows
of Harvard College, 323 F. Supp. 2d at 186. And when, as is the circumstance here, the alleged
misconduct of a third party causes damages that would not have resulted from the defendant’s
actions alone, the third party’s actions are an intervening cause that cuts off the defendant’s
liability. Russo v. Baxter Healthcare Corp., 140 F.3d 6, 11 (1st Cir. 1998) (granting defendant
summary judgment under FCA because legal malpractice was an intervening cause that cut off
defendant’s liability for negligent failure to obtain foreign patents); United States ex rel. Kinney
v. Hennepin County Med. Ctr., 2001 WL 964011, at *10 (D. Minn. Aug. 22, 2001) (dismissing
FCA claim for lack of causation where an automated billing system, not defendant’s initial
certifications, resulted in filing claims under an improper Medicare billing code); United States
ex rel. Fago v. M& T Mortg. Corp., 518 F. Supp. 2d 108, 122 (D.D.C. 2007) (granting
defendant summary judgment under FCA because mortgage borrower defaults were intervening
cause that cut off defendant’s liability for forged signatures on loan applications).

The DOJ does not even allege—let alone have evidence proving—that Roxane “actively
participated” in Dey’s pricing and marketing decisions, or that Dey’s conduct was foreseeable to
Roxane. Nor is there any evidence that Roxane otherwise proximately caused the damages that

purportedly flowed from Dey’s conduct, as alleged in the separately pled Dey complaint. In fact,

15

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 21 of 23

in this case, the DOJ’s pled theory is that Roxane’s conduct allegedly caused “its customers to
submit claims for fraudulently inflated Medicare . . . reimbursement.” (Dkt. No. 5733, Rox. First
Am. Compl. 45) Elsewhere in its complaint, the DOJ alleged that the “claims submitted by
Roxane’s customers were based on the inflated AWPs” and that Medicare payment amounts “far
exceeded” the actual cost of the drugs Roxane sold to its customers. (/d. J 44, 60; see also id.
4 70 (alleging Roxane knowingly caused to be presented false claims for payment or approval to
the United States “for the [Roxane] drugs listed in [complaint] Exhibit A”)) In other words, the
DOJ’s pled theory is tethered to Roxane’s conduct alone and the impact that conduct allegedly
had on Medicare reimbursement. Nowhere in the complaint pled against Roxane did the DOJ
allege damages (or liability) based on Dey’s AWPs, or the impact Dey’s AWPs allegedly had on
Medicare payments once Dey’s customers submitted claims for reimbursement. In any event,
because the FCA attaches liability to the “claim for payment” and requires a false statement to
have been “made with the purpose and effect of inducing the Government immediately to part
with money,” Roxane cannot be held liable for Dey’s conduct. See United States v. Rivera, 55
F.3d 703, 709 (1st Cir. 1995) (quotation omitted). Simply put, Roxane’s AWPs were not made
with the purpose that Dey’s customers would receive reimbursement from the government, nor
has that ever been alleged, let alone proven. See Allison Engine, 128 S. Ct. at 2125.

There is no basis upon which to conclude that the DOJ’s claims against Dey with respect
to the marketing and sale of Dey’s drugs were foreseeable to Roxane. In short, Dey’s alleged
wrongful conduct is the quintessential intervening cause that cuts off Roxane’s liability for any
damages associated with Dey’s (or any other defendant’s) conduct. See Russo, 140 F.3d at 11
(attorney’s legal malpractice cut off defendant’s liability); see also RESTATEMENT (SECOND) OF

TorTS §§ 441-442 (1965).

16

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 22 of 23

CONCLUSION

For the foregoing reasons, the Roxane Defendants respectfully request that the Court
exclude from the trial and argument in this case all reference to the “combined conduct” theory

of damages.

Dated: March 12, 2010 /s/ John W. Reale
Helen E. Witt, P.C.
Anne M. Sidrys, P.C.
Eric T. Gortner
John W. Reale
KIRKLAND & ELLIS LLP
300 North LaSalle Street
Chicago, Illinois 60654
Telephone: (312) 862-2000
Facsimile: (312) 862-2200

Counsel for Defendants Boehringer Ingelheim
Roxane, Inc., f/k/a Roxane Laboratories, Inc.,
Boehringer Ingelheim Corporation, and
Boehringer Ingelheim Pharmaceuticals, Inc.

17

K&E 16408976.8
Case 1:01-cv-12257-PBS Document 6970 Filed 03/12/10 Page 23 of 23

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was delivered to all counsel of
record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by
sending on March 12, 2010, a copy to LexisNexis File and Serve for posting and notification to

all parties.

REQUEST FOR ORAL ARGUMENT

Pursuant to Local Rule 7.1(D), the Roxane Defendants request oral argument on the
issues raised in this Motion, which they believe will assist the Court in deciding this motion and

request an opportunity to present one.

/s/ John W. Reale

K&E 16408976.8
